      Case: 1:10-cv-07295 Document #: 43 Filed: 08/04/11 Page 1 of 1 PageID #:287
AO 450(Rev. 5/85)Judgment in a Civil Case


                             United States District Court
                                    Northern District of Illinois
                                            Eastern Division



 Russell Bourrienne                                        JUDGMENT IN A CIVIL CASE
                      v.                                              Case Number: 10 C 7295
 John P. Calamos, Sr., et al

 G          Jury Verdict. This action came before the Court for a trial by jury. The issues have been
            tried and the jury rendered its verdict.
 O          Decision by Court. This action came to trial or hearing before the Court. The issues
            have been tried or heard and a decision has been rendered.



 IT IS HEREBY ORDERED AND ADJUDGED that Defendants’ motion to dismiss [28] is
 granted. Judgment is entered for Defendants John P. Calamos, Sr., et al and against Plaintiff
 Russell Bourrienne.




                                                  Michael W. Dobbins, Clerk of Court


 Date: 8/4/2011                                   ________________________________
                                                  /s/ Theresa B. Kinney, Deputy Clerk
